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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                              :
                                                    :      CHAPTER 7
MARVELAY, LLC                                       :
                                                    :      CASE NO. 18-69019
               Debtor.                              :
                                                    :

    TRUSTEE’S MOTION FOR ORDER AUTHORIZING COMPROMISES AND
SETTLEMENTS WITH CERTAIN DEFENDANTS, INCLUDING CERTAIN INSIDERS,
     UNDER FEDERAL RULES OF BANKRUPTCY PROCEDURE RULE 9019

         COMES NOW Martha A. Miller, as the Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate of Marvelay, LLC (“Marvelay” or “Debtor”), by and through the undersigned counsel, and

files Trustee’s Motion for Order Authorizing Compromises and Settlements with Certain

Defendants, including Certain Insiders, under Federal Rules of Bankruptcy Procedure Rule 9019

(the “Motion”). In support of the Motion, Trustee respectfully shows the Court as follows:

                                      I. JURISDICTION

         1.    This Court has jurisdiction over this Motion under 28 U.S.C. §§ 157 and 1334.

Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. The statutory

predicate for the relief sought herein is Rule 9019 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”). This Motion is a core proceeding under 28 U.S.C. § 157(b)(2).

                                      II. BACKGROUND

         2.    On November 9, 2018 (the “Petition Date”), Marvelay filed a voluntary petition for

relief under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§101, et seq. (the

“Bankruptcy Code”), commencing Case No. 18-68019 (the “Marvelay Bankruptcy Case”).
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         3.      The Trustee was appointed Chapter 7 trustee for Marvelay on or about November

 13, 2018, and became permanent trustee following the conclusion of the section 341 meeting of

 creditors on February 19, 2019.

         4.      Trustee is the sole representative of the Debtor’s bankruptcy estate. 11 U.S.C.

 §323(a).

         5.      In November 2020, Trustee filed Adversary Proceeding No. 20-06252 (the “Insider

 Litigation”) in the Bankruptcy Case, wherein, among other things, Trustee seeks to avoid and

 recover certain transfers from the individuals and entities named as defendants therein, certain of

 which Trustee asserts are insiders of the Debtor (the “Insider Defendants”).

         6.      On September 1, 2021, in the Insider Litigation, the Trustee filed the Trustee’s

Motion to Sever and for Leave to File Amended Complaints, Together with Memorandum of Law

in Support, and Trustee’s Response in Opposition to Motions to Dismiss and Motion to Extend Time

to Answer Count III (the “Sever Motion”; Insider Litigation Doc. 44).

         7.      On December 16, 2021, the Court entered an order (the “Sever Order”; Insider

Litigation Doc. 56) granting the Sever Motion, wherein the Court, inter alia, ordered the Clerk of

the Court to sever the Insider Litigation into separate adversary proceedings (the “Adversary

Proceedings”) as set forth therein.

                                      III. THE SETTLEMENTS

         8.      Following good faith negotiations, Trustee reached an agreement (the “Settlement

 Agreement”) to resolve her disputes, subject to Bankruptcy Court approval, with the following

 defendants: Cary Quattrocchi; Asta Quattrocchi; Chris Surhoff f/k/a Chris Quattrocchi; Erran Fain

 Yearty; Lisa Strawn; John Quattrocchi; Darlene A. Zdrojewski; 4DZ, LLC (d/b/a Skydive

 Alabama, Skydive Georgia, Skydive Tennessee, Skylander/South Carolina Skydiving); SDG, LLC



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(d/b/a Skydive Alabama, Skydive Georgia, Skydive Tennessee); SDPA, LLC (d/b/a Skydive

Philadelphia); Yvonne Crooks Cline; Ewok LLC; Falken, LLC (d/b/a Trident Technology);

Camorin, LLC; Granter Media, Inc; Bilateral, LLC (d/b/a Bilateral Marketing); and Albright, LLC;

(collectively, the “Settling Defendants”). In reaching the Settlement Agreement and as set forth in

more detail below, the Trustee took into account the arguments of the Settling Defendants, the

costs of litigation, and the costs of collection if Trustee were to be successful in her litigation

against the Settling Defendants.

        9.       A copy of the proposed Settlement Agreement and form consent order in the

pending litigation with the State of Georgia are attached hereto as Exhibit “1” and incorporated

herein by reference. The following are significant terms of the Settlement Agreement:1

                 a.       Subject to the occurrence of the applicable Effective Date (defined in the

Settlement Agreement as the date the Bankruptcy Court’s order granting the Motion and approving

the settlement between the Trustee and the Settling Defendant becomes a final, non-appealable

order), the Settling Defendants shall pay to the Trustee $265,000.00 (the “Settlement

Payment”), in full and final satisfaction of the claims against the Settling Defendants, as

detailed in the Settlement Agreement. The Settlement Payment must be paid to the Trustee on

or before five business days after the Effective Date.

                 b.       Subject to the occurrence of both the Effective Date and the receipt by the

Trustee of the Settlement Payment, the Trustee and the Settling Defendants mutually release all

claims, as set forth in the Settlement Agreement, against each other that (a) arise under the




1
  To the extent the terms of the Settlement Agreement differ from the summary of the terms describe in this Motion,
the Settlement Agreement shall control. The Settlement Agreement will be conformed to be consistent with the Sever
Order

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Bankruptcy Code, or (b) arise under any non-bankruptcy law and are otherwise related to the

business relationship between the Settling Defendants and the Debtor.

               c.      Pursuant to the Settlement Agreement, the Trustee has agreed to dismiss the

Insider Litigation against the Settling Defendants and the Non-Settling Defendants (as defined in

the Settlement Agreement) with prejudice. The Trustee intends to also dismiss the severed

Adversary Proceedings with prejudice.

                                   IV. RELIEF REQUESTED

       10.     By this Motion, Trustee requests that the Court approve the Settlement Agreement.

                                     V. BASIS FOR RELIEF

       11.     Bankruptcy Rule 9019(a) provides, in pertinent part, that “[o]n motion by Trustee

and after notice of a hearing, the court may approve a compromise or settlement.” Fed. R. Bankr.

P. 9019(a). The standard in this Circuit for determining whether to approve a compromise or

settlement pursuant to Bankruptcy Rule 9019(a) is set forth in Wallis v. Justice Oaks II, Ltd. (In re

Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S. 959 (1990), in which

the Eleventh Circuit stated as follows:

               When a bankruptcy court decides whether to approve or disapprove a
               proposed settlement, it must consider:

               (a) The probability of success in the litigation; (b) the difficulties, if any, to
               be encountered in the matter of collection; (c) the complexity of the
               litigation involved, and the expense, inconvenience and delay necessarily
               attending it; (d) the paramount interest of the creditors and a proper
               deference to their reasonable views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a


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pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284 F.2d

567, 571 (5th Cir. 1960).

          12.   Given the potential expense of litigation in the event the claims which are proposed

to be settled are instead prosecuted, the amount of time that such litigation will require, the delay

before the final outcome is known, the complexity and uncertain resolution of factual and legal

disputes, and the relative size of the claims filed in the Debtor’s bankruptcy case, settlement on

the terms set forth in the Settlement Agreement is in the best interests of the Debtor’s bankruptcy

estate.

          13.   Specifically, the Settlement Agreement will result in a total of $265,000.00 being

paid to the Debtor’s bankruptcy estate. There are substantial unpaid priority and administrative

claims in the Debtor’s bankruptcy case, and general unsecured claims total in excess of $13 million

dollars, over 99 percent of which consists of the claim of the State of Georgia. The Trustee

anticipates that the Settlement Agreement will result in full payment of all priority claims other

than professionals. The priority claims the Trustee anticipates paying in full include claims of

individual consumers for the purchase of services that were paid for by the consumer but not

provided by the Debtor. Additionally, the Trustee anticipates there will be funds available to pay

Chapter 7 administrative claims other than professional fees in full and a portion of anticipated

allowed claims of Trustee’s professionals. Due to the anticipated amount of priority and

administrative claims and the size of the general unsecured claim of the State of Georgia, the

settlement funds will not result in a meaningful recovery to general unsecured creditors in this

case, if any. Given the size of the general unsecured claim of the State of Georgia, Trustee believes

that the only party who would materially benefit by a potentially larger recovery in the Insider

Litigation would be the State of Georgia. Due to the cost of litigation and risk of collection, and



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after considering the interests of and consulting with the State of Georgia through counsel, the

Trustee, in the exercise of her reasonable business judgment, believes that the proposed Settlement

Agreement is in the best interest of creditors and the estate.

       14.     Under the standard set forth above and for the reasons detailed in this Motion,

Trustee requests that this Court approve the Settlement Agreement.

       WHEREFORE, Trustee respectfully requests that the Court enter an Order: (i) granting

this Motion; (ii) authorizing Trustee to take actions reasonably necessary to effectuate the terms

of the Settlement Agreement, including, granting authority to the Trustee or a representative of

Marvelay to execute consent order(s) on behalf of Marvelay in the pending litigation with the State

of Georgia; and (iii) granting to Trustee such other and further relief as the Court deems just and

appropriate.

       Dated this 11th day of February, 2022.


                                                      LAMBERTH, CIFELLI, ELLIS
                                                      & NASON, P.A.
                                                      Counsel for Trustee

                                                             /s/ Gregory D. Ellis
                                                      Gregory D. Ellis
                                                      Georgia Bar No. 245310
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                                                      Special Counsel for Trustee

                                                              /s/ Garrett A. Nail
                                                      Garrett A. Nail
                                                      Georgia Bar No. 997924
                                                      gnail@pgnlaw.com
3350 Riverwood Pkwy, Suite 460
Atlanta 30339
(404) 688-8800



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                     EXHIBIT “1” FOLLOWS




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      PROPOSED SETTLEMENT AGREEMENT




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                               SETTLEMENT AGREEMENT

       This settlement agreement (the “Agreement”) is made and entered into this ______ day of
February, 2022, by and between: Cary Quattrocchi; Asta Quattrocchi; Chris Surhoff f/k/a Chris
Quattrocchi; Erran Fain Yearty; Lisa Strawn; John Quattrocchi; Darlene A. Zdrojewski; 4DZ, LLC
(d/b/a Skydive Alabama, Skydive Georgia, Skydive Tennessee, Skylander/South Carolina
Skydiving); SDG, LLC (d/b/a Skydive Alabama, Skydive Georgia, Skydive Tennessee); SDPA,
LLC (d/b/a Skydive Philadelphia); Yvonne Crooks Cline; Ewok LLC; Falken, LLC (d/b/a Trident
Technology); Camorin, LLC; Granter Media, Inc; Bilateral, LLC (d/b/a Bilateral Marketing); and
Albright, LLC (collectively, the “Settling Defendants”), and (ii) Martha A. Miller, the Chapter 7
Trustee (the “Trustee”) for the bankruptcy estate of Marvelay, LLC (the “Debtor”) in the Debtor’s
Chapter 7 bankruptcy case pending in the United States Bankruptcy Court for the Northern District
of Georgia, Case No. 18-69019-LRC.

                                         Defined Terms

      As used in this Agreement, the following defined terms shall have the following meanings:

       “Adversary Proceeding” shall mean and refer to the Adversary Proceeding Number 20-
06252, styled Martha A. Miller, Chapter 7 Trustee for Marvelay, LLC v. Cary Quattrocchi, et. al.,
currently pending in the Bankruptcy Court.

     “Bankruptcy Case” shall mean and refer to the Chapter 7 bankruptcy case styled In re
Marvelay, LLC, Case No. 18-69019-LRC, currently pending in the Bankruptcy Court.

      “Bankruptcy Code” shall mean and refer to Title 11 of the United States Code, 11 U.S.C.
§§101 et seq.

      “Bankruptcy Court” shall mean and refer to the United States Bankruptcy Court for the
Northern District of Georgia, Atlanta Division, with jurisdiction over the Bankruptcy Case.

       “Bankruptcy Approval Order” shall mean and refer to an order entered by the Bankruptcy
Court in the Bankruptcy Case approving this Agreement and authorizing the consummation of the
settlement which is the subject of this Agreement.

        “Effective Date” shall mean and refer to the date on which the Bankruptcy Approval Order
has become final (“final”, in this context, means fourteen (14) calendar days shall have passed
after entry of the Bankruptcy Approval Order without a notice of appeal, motion to extend time to
file an appeal, or motion for reconsideration (or any similar motion) having been filed, or, if such
a notice or motion is filed, such appeal shall have been conclusively resolved or such motion shall
have been denied).

      “Non-Settling Defendants” shall mean Wind Favor, LLC d/b/a Skydive Philadelphia;
South Carolina Skydiving, LLC d/b/a SC Skydiving and South Carolina Skydiving; Thirty Red,
LLC; Sonic Air, LLC; Metropolitan Classic Cars, Inc.; and Firm Foundations, Inc.

      “Party” shall mean and refer to, individually, the Trustee or Settling Defendant, and the
“Parties” shall collectively mean both the Trustee and Settling Defendants.

      “Petition Date” shall mean and refer to November 9, 2018.
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     “State Court Proceeding” shall mean the proceedings in the Superior Court of Cobb
County, Civil Action File No. 17-1-5434-58, and any appeals or related actions therefrom.

                                             Recitals

      WHEREAS, on the Petition Date, the Debtor filed a voluntary petition for relief under
Chapter 7 of the Bankruptcy Code;
        WHEREAS, on November 8, 2020, the Trustee filed her Complaint (the “Complaint”),
initiating the Adversary Proceeding, in which, among other things, the Trustee seeks to recovery
for claims, including claims for breach of fiduciary duty and for aiding and abetting fiduciary duty
breach, and to avoid and recover certain transfers as listed in the Complaint (the “Transfers”)
from the Settling Defendants which the Trustee asserts are insiders of the Debtor and the Non-
Settling Defendants;

       WHEREAS, the Parties, through their respective counsel, engaged in arms-length, honest
and frank settlement negotiations relating to the claims in the Complaint, including the Transfers;

      WHEREAS, Settling Defendants expressly deny any and all claims asserted by Trustee in
the Complaint, including, without limitation, any allegations of wrongdoing;

      WHEREAS, the Trustee is willing to settle this matter on the terms of this Agreement, subject
to Bankruptcy Court approval; and

      WHEREAS, the Parties believe that it is in their respective best interests to enter into this
Agreement to avoid any further costs and expenses associated with the Adversary Proceeding or
any other litigation related to the claims in the Complaint.

        NOW, THEREFORE, in consideration of the foregoing and the covenants hereinafter set
forth, and other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, it is hereby agreed by the parties as follows:

         1.      Settlement Payment. Subject to the occurrence of the Effective Date, the Parties
agree that Settling Defendants shall pay the sum of Two Hundred Sixty-Five Thousand and
00/100ths dollars ($265,000.00) (the “Settlement Payment”) to the Trustee, in full and final
satisfaction of claims as detailed herein. The Settlement Payment must be paid to the Trustee on
or before five (5) business days after the Effective Date. The Settlement Payment shall be paid
by wire according to instructions provided to the Settling Defendants (or their counsel) by the
Trustee or by delivery of a certified or cashier’s check payable to Martha A. Miller, as Chapter 7
Trustee for Marvelay, LLC, and delivered to Martha Miller Law, LLC, P.O. Box 5630, Atlanta,
GA 31107.

         2.      Disallowance of All Other Claims. Subject to the occurrence of the Effective
Date and the receipt by the Trustee of the Settlement Payment, any and all claims of Settling
Defendants and any of their affiliates, whether filed, unfiled or scheduled, against the Debtor
shall be deemed disallowed. Further, neither Settling Defendants nor any of their affiliates shall
be entitled to any other claims against the Trustee, the Debtor, or the Debtor’s bankruptcy estate
in any amount for any reason.

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        3.      Dismissal of Adversary Proceeding. Subject to the occurrence of both the Effective
Date and the receipt by the Trustee of the Settlement Payment, the Parties shall, within five (5)
business days of the payment of the Settlement Payment, file a joint stipulation to dismiss the
Adversary Proceeding with prejudice. Additionally, subject to the occurrence of both the Effective
Date and the receipt by the Trustee of the Settlement Payment, the Trustee shall file a stipulation
dismissing the claims asserted against the Non-Settling Defendants with prejudice.

        4.     Mutual Release of Claims.

       (a)     Subject to the occurrence of both the Effective Date and the receipt by the Trustee of
               the Settlement Payment, the Trustee, on behalf of herself, her professionals, the Debtor
               and the Debtor’s bankruptcy estate (collectively, the “Debtor Parties”), hereby
               releases, acquits and forever discharges Settling Defendants, their employees, officers,
               directors, parents, affiliates, subsidiaries, professionals, attorneys, members, managers,
               shareholders, agents, representatives, successors, and assigns, from any and all claims,
               counterclaims, rights, demands, obligations, costs, damages, losses, liabilities,
               attorneys’ fees, actions, lawsuits and causes of action, of whatever kind or nature,
               known or unknown, fixed or contingent, which the Debtor Parties have, had or may
               hereafter claim to have in law or in equity, arising on or before the date of this
               Agreement, that (a) arise under the Bankruptcy Code, or (b) arise under any non-
               bankruptcy law and are otherwise related to the business relationship between Settling
               Defendants and the Debtor.

       (b)     Subject to the occurrence of both the Effective Date and the receipt by the Trustee
               of the Settlement Payment, each of the Settling Defendants, its employees, officers,
               directors, parents, affiliates, subsidiaries, professionals, members, agents,
               representatives, successors, and assigns, hereby releases, acquits and forever
               discharges the Debtor Parties from any and all claims, counterclaims, rights, demands,
               obligations, costs, damages, losses, liabilities, attorneys' fees, actions, lawsuits and
               causes of action, of whatever kind or nature, known or unknown, fixed or contingent,
               which Settling Defendants have, had or may hereafter claim to have in law or in equity,
               arising on or before the date of this Agreement, that (a) arise under the Bankruptcy
               Code, or (b) arise under any non-bankruptcy law and are otherwise related to the
               business relationship between Settling Defendants and the Debtor.

        6.      Bankruptcy Approval. The Trustee agrees to promptly file a motion with the
Bankruptcy Court seeking approval of this Agreement following its execution. If this Agreement
is not approved by the Bankruptcy Court for any reason, then this Agreement shall be null and
void, and inadmissible against any Party, and the Parties shall be returned in all respects to the
status quo ante.
       7.      Representations by the Parties:
                 (a)    By the Trustee: The Trustee represents and warrants that: (i) she has full
authority to execute and deliver this Agreement and to consummate the transactions contemplated
herein, subject to the approval of the Bankruptcy Court; and (ii) the execution of this Agreement
by the Trustee and the performance of its obligations hereunder once approved by the Bankruptcy


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Court will not violate any agreement, order of court, whether written or oral, to which the Trustee
is a party or otherwise subject to.
                 (b)   By the Settling Defendants: Each Settling Defendant represents and warrants
that: (i) Settling Defendant has full authority to execute and deliver this Agreement and to
consummate the transactions contemplated herein; and (ii) the execution of this Agreement by said
Settling Defendant and the performance of its obligations hereunder will not violate any agreement,
order of court, whether written or oral, to which said Settling Defendant is a party or otherwise
subject to.

        8.      No Admission of Liability or Wrongdoing. It is understood and agreed that this
Agreement is being made in connection with the settlement and compromise of disputed claims
and that such settlement is not to be construed as an admission or concession of liability by any
Party, including, without limitation, any claims of wrongdoing, which Settling Defendants deny.

         9.      No Effect on Pending State Court Litigation. The Parties agree and acknowledge
that this settlement has no effect on the pending State Court Proceeding, other than any obligation
the State of Georgia may have to account for, as a credit on any judgment, any distributions that
may be made in the Bankruptcy Case to consumers or to the State of Georgia on account of an
allowed claim.
        10.      Attorneys’ Fees and Costs. The Parties shall bear their own costs and attorneys'
fees incurred in connection with this Agreement and consummation of the settlement which is the
subject of this Agreement.
        11.     Joint Authorship. This Agreement is the product of the negotiation of all of the
Parties and their respective counsel. By agreement of the Parties, this Agreement shall be deemed
to have been drafted jointly by the Parties, and any ambiguity in this Agreement shall not be
construed for or against any Party by virtue of the identity of any drafter.

        12.     Waiver. No waiver of any breach of any one or more of the conditions or covenants
of this Agreement by any Party shall be deemed to imply or constitute a waiver of any breach of
any other condition or covenant in this Agreement, or a waiver of a breach of the same condition
or covenant in the future.

        13.      Authority and Binding Effect. By their signatures below, each respective signatory
represents that he or she has the express authority of the Party for which he or she executes this
Agreement, and further has the express authority to bind his or her principals to the terms of this
Agreement. Each Party represents that it is the sole and current owner of all of the claims released
by this Agreement. This Agreement shall be binding upon the Parties and their successors and
assigns, and, as to the Trustee, any successor trustee(s) appointed.

        14.     Entire Agreement. This Agreement, and the documents referred to herein, contain
the entire understanding of the Parties with respect to the subject matter hereof and there have been
no representations, warranties, statements, or promises, express or implied, upon which any Party
hereto has relied except as specifically provided in this Agreement.




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        15.    Amendments or Modifications of this Agreement. This Agreement may not be
amended, modified, or changed, nor shall any waiver of any provision hereof be effective, except
by an instrument in writing and signed by all of the Parties.

        16.    Counterparts. This Agreement may be executed in separate counterparts, including
by a “PDF” thereof or by facsimile, with the same effect as if all Parties to this Agreement had
signed the same instrument.

        17.    Severability. The Parties agree that, if any single immaterial section or provision
of this Agreement should be found unenforceable, it shall be severed and the remaining sections
and provisions shall be enforced in accordance with the terms of this Agreement.

       18.     Consent. The Parties represent that they have read this Agreement and have
consulted with their respective attorneys about the meaning and effect of this Agreement, that
they have been represented by counsel with respect to this Agreement, and that they understand
this Agreement and agree to the terms and conditions thereof and sign them freely of their own
will.

       19.      Sections and Headings. The headings and captions used in this Agreement and the
organization of the provisions of this Agreement into separate sections are for the purposes of
information, ease of reference, and convenience only, and do not themselves limit, expand, construe,
or modify the contents of any provision hereof or of the mutual intents hereby expressed.

       20.      Governing Law. This Agreement is to be interpreted and construed in accordance
with the provisions of the Bankruptcy Code and, where not inconsistent, the laws of the State of
Georgia.

        21.      Jurisdiction. Any dispute, action or proceeding arising out of or relating to this
Agreement shall be within the jurisdiction of the Bankruptcy Court. In the event the Bankruptcy
Court declines jurisdiction, the Parties agree that jurisdiction is proper in the state or federal courts
of the State of Georgia.

        This Agreement is hereby executed as of the date written on page 1, above.



MARTHA A. MILLER, AS THE CHAPTER 7
TRUSTEE FOR MARVELAY, LLC


Martha A. Miller, Chapter 7 Trustee




Cary Quattrocchi



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Asta Quattrocchi


Chris Surhoff f/k/a Chris Quattrocchi



Erran Fain Yearty



Lisa Strawn



John Quattrocchi



Darlene A. Zdrojewski


4DZ, LLC d/b/a SKYDIVE ALABAMA,
SKYDIVE GEORGIA, SKYDIVE TENNESSEE,
SKYLANDER/SOUTH CAROLINA SKYDIVING

By:
Name:
Title:


SDG, LLC d/b/a SKYDIVE ALABAMA,
SKYDIVE GEORGIA, SKYDIVE TENNESSEE


By:
Name:
Title:




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SDPA, LLC d/b/a SKYDIVE PHILADELPHIA


By:
Name:
Title:



Yvonne Crooks Cline


EWOK LLC


By:
Name:
Title:


FALKEN, LLC d/b/a TRIDENT TECHNOLOGY


By:
Name:
Title:


CAMORIN, LLC


By:
Name:
Title:


GRANTER MEDIA, INC.


By:
Name:
Title:




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BILATERAL, LLC d/b/a BILATERAL MARKETING


By:
Name:
Title:


ALBRIGHT, LLC

By:
Name:
Title:




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                FORM OF CONSENT ORDER




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                                  CERTIFICATE OF SERVICE

        This is to certify that I have on this day electronically filed the foregoing Trustee’s Motion
for Order Authorizing Compromises and Settlements with Certain Defendants, including Certain
Insiders, under Federal Rules of Bankruptcy Procedure Rule 9019 using the Bankruptcy Court’s
Electronic Case Filing program, which sends a notice of this document and an accompanying link
to this document to all parties who have appeared in this case under the Bankruptcy Court’s
Electronic Case Filing program.

       This 11th day of February, 2022.                              /s/ Gregory D. Ellis
                                                              Gregory D. Ellis
                                                              Georgia Bar No. 245310
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